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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
SAMMIE HALL,

    Plaintiff,                                      CASE NO.: 8:18-CV-01586-JSM-TGW


-vs-

CAPITAL ONE BANK (USA) N.A. and
PORTFOLIO RECOVERY ASSOCIATES,
LLC,

     Defendants.
                                       /


                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


          COME NOW the Plaintiff, Sammie Hall, and the Defendants, Portfolio Recovery

Associates, LLC and Capital One Bank (USA), N.A., and pursuant to Fed. R. Civ. P.

41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice, each claim and count therein asserted

by Plaintiff against the Defendants in the above styled action, with Plaintiff and Defendants to

bear their own attorney’s fees, costs and expenses.

          Respectfully submitted this 8th day of October, 2018.



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